  Case 1:20-cv-00371-MAC Document 1 Filed 09/08/20 Page 1 of 3 PageID #: 1




                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TEXAS
                            BEAUMONT DIVISION

                                        )
MATT MCCORMICK,                         )
                                        )
      Plaintiff,                        )
                                        )
             v.                         )       CASE NO. 1:20-cv-00371
                                        )
AMERICANS FOR POLICE AND                )
TROOPER SAFETY and POLICE               )
LIVES MATTER,                           )
                                        )
      Defendant.                        )
                                        )

                             NOTICE OF REMOVAL

TO THE CLERK OF COURT, ALL PARTIES, AND THE JUSTICE OF THE
PEACE COURT, PRECINCT 6 IN DENTON COUNTY, TEXAS:
      PLEASE TAKE NOTICE that the Defendants Americans for Police and
Trooper Safety and Police Lives Matter hereby remove to this Court the state court
action described below.


      1.     On or about August 11, 2020, an action was commenced by Plaintiff in
the Justice Court, Precinct 6 for Denton County entitled Matt McCormick v.
Americans for Police and Trooper Safety and Police Lives Matter, S20-120J6. The
Court is located at 1029 West Rosemade Parkway, Carrollton, TX 75007-6251.
      2.     Defendants were served with the complaint on September 4, 2020.
Pursuant to 28 U.S.C. § 1446(b), this notice has been timely filed. A copy of the
documents served in this matter is attached as Exhibit A.
      3.     This action is a civil action of which the Court has original jurisdiction
under 28 U.S.C. § 1331 because this is an action arising under the laws of the
United States, specifically 47 U.S.C. § 227.



                                            1
  Case 1:20-cv-00371-MAC Document 1 Filed 09/08/20 Page 2 of 3 PageID #: 2




      WHEREFORE, Defendant Americans for Police and Trooper Safety and
Police Lives Matter prays that this action be removed to the United States District
Court for Eastern District of Texas.
      Respectfully submitted on September 8, 2020.


                                             THE BERNHOFT LAW FIRM, S.C.
                                             Attorney for Defendant Americans for
                                             Police and Trooper Safety and Police
                                             Lives Matter


                                              /s/ Daniel J. Treuden
                                             Daniel Treuden, Esq.
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                                         2
  Case 1:20-cv-00371-MAC Document 1 Filed 09/08/20 Page 3 of 3 PageID #: 3




                             Certificate of Service


      I hereby certify that on September 8, 2020, I mailed a copy of this Notice of

Removal to the Plaintiff at Matt McCormick, 720 Red Fox Drive, Prosper, TX

75078.


      I further certify that a copy of this Notice of Removal was sent to the

Clerk of Court, Justice of the Peace Court, Precinct 6, 1029 West Rosemade

Parkway, Carrollton, TX 75007-6251 on September 8, 2020.




                                             /s/ Daniel J. Treuden
                                            Daniel Treuden




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